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                                                         Population Summary Report
                                             Georgia State Senate -- Illustrative Plan
                                                                                          2016-20           2016-             NH         2016-20   NH DOJ
                        % 2020                18+ AP     % 18+ AP     18+_NH     % 18+ NH   NH    2016-20 2020 NH           B+L+NH      NH White    Black
District 2020 Pop.     Deviation   18+ Pop     Black       Black       White      White   BCVAP* LCVAP* ACVAP*              ACVAP        CVAP*     CVAP**

  001        191452        0.09%    145461       36492       25.09%     90,157      61.98%   23.35%     6.89%      2.42%       32.66%     64.57%    24.22%
  002        193142        0.97%    153153       70956       46.33%     62,323      40.69%   51.30%     4.24%      1.28%       56.81%     41.21%    52.01%
  003        191212       -0.04%    148915       31545       21.18%    102,574      68.88%   22.52%     3.12%      1.07%       26.72%     71.66%    22.75%
  004        191400        0.06%    146752       36060       24.57%     97,270      66.28%   24.53%     2.44%      0.66%       27.64%     70.36%    25.14%
  005        193203        1.00%    145348       43143       29.68%     42,016      28.91%   32.39%    14.37%     12.39%       59.15%     38.00%    33.12%
  006        191401        0.06%    155781       37231       23.90%     90,024      57.79%   21.84%     4.81%      4.33%       30.99%     66.49%    22.68%
  007        190077       -0.63%    142736       30092       21.08%     38,350      26.87%   25.96%    15.49%     16.51%       57.96%     39.79%    26.69%
  008        192396        0.58%    145144       44098       30.38%     87,232      60.10%   29.62%     4.62%      0.63%       34.86%     63.30%    29.87%
  009        192517        0.64%    141460       41834       29.57%     50,943      36.01%   31.13%    10.34%     10.52%       51.99%     46.19%    31.67%
  010        192564        0.67%    150543      105014       69.76%     33,702      22.39%   68.28%     2.96%      1.68%       72.93%     24.80%    69.46%
  011        189976       -0.68%    144597       44887       31.04%     85,275      58.97%   32.29%     3.60%      0.53%       36.42%     62.50%    32.39%
  012        190819       -0.24%    149154       86465       57.97%     54,752      36.71%   58.80%     1.58%      0.51%       60.89%     37.77%    59.26%
  013        189419       -0.97%    145681       43112       29.59%     91,184      62.59%   30.55%     2.96%      0.66%       34.17%     64.79%    30.78%
  014        192533        0.65%    155340       29470       18.97%     88,706      57.10%   18.74%     6.79%      5.99%       31.52%     66.36%    19.52%
  015        189446       -0.96%    144506       78040       54.00%     52,771      36.52%   53.80%     4.84%      1.13%       59.76%     38.23%    54.34%
  016        190092       -0.62%    143135       80897       56.52%     41,141      28.74%   53.43%     6.12%      4.06%       63.61%     34.66%    53.92%
  017        191319        0.02%    144778       90556       62.55%     44,041      30.42%   58.26%     3.21%      1.75%       63.23%     34.85%    59.13%
  018        192415        0.59%    149741       42007       28.05%     95,357      63.68%   27.72%     2.31%      1.66%       31.69%     66.82%    27.90%
  019        192249        0.50%    144589       34200       23.65%     94,744      65.53%   24.70%     5.42%      0.26%       30.38%     68.36%    25.02%
  020        190739       -0.28%    143177       86543       60.44%     40,051      27.97%   57.34%     5.09%      1.13%       63.55%     34.68%    57.90%
  021        192572        0.67%    145120       10823        7.46%    107,202      73.87%    7.97%     4.93%      3.57%       16.46%     82.05%     8.20%
  022        189518       -0.92%    148909       74990       50.36%     60,500      40.63%   50.14%     4.14%      1.61%       55.89%     41.99%    50.69%
  023        190081       -0.63%    149454       75048       50.21%     67,539      45.19%   50.87%     1.52%      0.57%       52.96%     45.66%    51.50%
  024        189600       -0.88%    141699       29421       20.76%     94,225      66.50%   19.83%     4.75%      2.62%       27.20%     70.64%    20.49%
  025        192197        0.48%    148021       45940       31.04%     92,084      62.21%   32.64%     2.86%      0.58%       36.08%     63.09%    32.85%
  026        193164        0.98%    145554       76868       52.81%     55,602      38.20%   51.43%     3.24%      1.28%       55.94%     41.97%    52.25%
  027        190676       -0.32%    139196        6961        5.00%     99,531      71.50%    3.91%     5.70%      4.39%       14.00%     83.77%     4.52%
  028        189892       -0.73%    145076       74454       51.32%     54,976      37.89%   49.65%     4.55%      2.35%       56.55%     41.52%    50.19%
  029        189424       -0.97%    145674       39150       26.88%     92,102      63.22%   26.94%     4.06%      1.61%       32.61%     65.57%    27.18%
  030        192238        0.50%    146282       24275       16.59%    108,953      74.48%   16.63%     2.69%      0.65%       19.97%     78.59%    16.98%
  031        192560        0.67%    142251       29440       20.70%     97,094      68.26%   17.61%     4.90%      0.66%       23.16%     74.68%    18.20%
  032        192448        0.61%    149879       22274       14.86%     98,589      65.78%   13.83%     5.81%      3.85%       23.50%     74.61%    14.28%
  033        189366       -1.00%    142275       74833       52.60%     34,672      24.37%   57.30%     9.56%      1.55%       68.41%     29.93%    58.27%
  034        192420        0.59%    141555      110184       77.84%      9,895       6.99%   81.65%     4.44%      3.14%       89.24%      8.92%    82.68%
  035        191120       -0.09%    156232       94985       60.80%     43,695      27.97%   63.52%     3.21%      2.78%       69.51%     28.67%    63.99%
  036        192282        0.52%    161385       82859       51.34%     58,394      36.18%   51.43%     4.15%      3.28%       58.87%     38.63%    52.36%
  037        192671        0.73%    147779       28484       19.27%     96,596      65.37%   17.91%     6.55%      3.39%       27.86%     70.93%    18.12%
  038        189676       -0.84%    147155       79836       54.25%     41,957      28.51%   57.67%     5.62%      2.89%       66.18%     31.35%    58.53%
  039        190610       -0.35%    144608       23105       15.98%    102,900      71.16%   14.30%     5.07%      1.61%       20.98%     76.91%    14.86%
  040        190544       -0.39%    147000       28277       19.24%     68,121      46.34%   22.44%     8.17%      7.48%       38.09%     60.06%    22.85%
  041        190488       -0.42%    145841       94164       64.57%     27,108      18.59%   70.45%     2.70%      4.15%       77.29%     20.93%    71.17%
  042        190522       -0.40%    151327       40946       27.06%     79,710      52.67%   26.49%     4.18%      5.15%       35.82%     61.11%    27.41%
  043        192227        0.49%    144558       83796       57.97%     48,210      33.35%   56.01%     3.92%      0.65%       60.57%     37.68%    56.33%
  044        191728        0.23%    148891       34043       22.86%    106,209      71.33%   23.65%     1.93%      0.42%       26.00%     72.82%    23.95%
  045        193010        0.90%    141394       29784       21.06%     74,402      52.62%   19.61%     9.19%      6.84%       35.64%     63.06%    20.00%
  046        189385       -0.99%    152409       30906       20.28%     99,148      65.05%   23.18%     4.22%      2.34%       29.73%     68.73%    23.55%
  047        190120       -0.61%    142471       15791       11.08%    107,483      75.44%   10.59%     5.05%      1.82%       17.46%     81.00%    11.12%
  048        190123       -0.61%    136995       12968        9.47%     71,575      52.25%    8.08%     5.45%     16.74%       30.28%     68.11%     8.34%
  049        192420        0.59%    146234       11610        7.94%     95,226      65.12%    8.26%    12.10%      1.70%       22.06%     76.48%     8.65%
  050        192836        0.81%    152237       10351        6.80%    124,435      81.74%    6.99%     4.37%      0.79%       12.15%     86.51%     7.22%
  051        190167       -0.58%    155571        1876        1.21%    140,394      90.24%    1.11%     2.82%      0.40%        4.33%     92.93%     1.35%
  052        190799       -0.25%    146620       19120       13.04%    109,583      74.74%   12.10%     4.85%      0.69%       17.64%     80.53%    12.89%
  053        190236       -0.55%    148201        7558        5.10%    129,390      87.31%    4.51%     1.91%      0.71%        7.12%     91.33%     4.96%
  054        192443        0.61%    143843        5450        3.79%    100,668      69.98%    3.73%    12.79%      0.64%       17.17%     81.43%     4.14%
  055        192748        0.77%    144139       73834       51.22%     51,521      35.74%   50.78%     4.91%      2.36%       58.05%     40.12%    51.27%
  056        191226       -0.03%    144448       10940        7.57%    110,031      76.17%    6.60%     5.24%      3.84%       15.68%     82.68%     7.18%

Total     10,711,908       2.00% 8,220,274 2,607,986         31.73% 4,342,333       52.82%
Majority Districts                                           18                                18                              22          34           19

CVAP Source:
* 2016-20 ACS Special Tabulation            https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-block-level-2020/
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (survey midpoint of July 2018)
* Single race NH Black CVAP, Single Race NH Asian CVAP, **NH DOJ Black= SR NH Black CVAP+SR NH Black/White CVAP
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      User:
Plan Name: Illustrative_Senate
 Plan Type: Senate


Plan Components with Population Detail
Tuesday, November 29, 2022                                                       2:43 PM
                                          Total    NH_Wht          AP_Blk       [Hispanic
                                     Population                                   Origin]

District 001
 County: Bryan GA
           Total:                        44,738      31,321          7,463           3,269
                                                    70.01%         16.68%           7.31%
          Voting Age                     31,828      23,033          5,025           1,919
                                                    72.37%         15.79%           6.03%
 County: Chatham GA
         Total:                          81,458      57,430         13,203           5,759
                                                    70.50%         16.21%           7.07%
          Voting Age                     65,619      48,059          9,767           3,823
                                                    73.24%         14.88%           5.83%
 County: Liberty GA
         Total:                          65,256      24,004         31,146          7,786
                                                    36.78%         47.73%         11.93%
          Voting Age                     48,014      19,065         21,700          5,231
                                                    39.71%         45.20%         10.89%
District 001 Total
           Total:                       191,452     112,755         51,812         16,814
                                                    58.89%         27.06%          8.78%
          Voting Age                    145,461      90,157         36,492         10,973
                                                    61.98%         25.09%          7.54%
District 002
 County: Chatham GA
           Total:                       193,142      71,265         96,044         16,052
                                                    36.90%         49.73%          8.31%
          Voting Age                    153,153      62,323         70,956         11,380
                                                    40.69%         46.33%          7.43%
District 002 Total
           Total:                       193,142      71,265         96,044         16,052
                                                    36.90%         49.73%          8.31%
          Voting Age                    153,153      62,323         70,956         11,380
                                                    40.69%         46.33%          7.43%
District 003
 County: Brantley GA
           Total:                        18,021      16,317            733             326
                                                    90.54%          4.07%           1.81%
          Voting Age                     13,692      12,522            470             212
                                                    91.45%          3.43%           1.55%
 County: Camden GA
         Total:                          54,768      37,203         11,072           3,658
                                                    67.93%         20.22%           6.68%
          Voting Age                     41,808      29,410          7,828           2,457
                                                    70.35%         18.72%           5.88%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 003
 County: Charlton GA
           Total:                     12,518       7,532          2,798               2,036
                                                 60.17%         22.35%              16.26%
          Voting Age                  10,135       5,929          2,147               1,971
                                                 58.50%         21.18%              19.45%
 County: Glynn GA
         Total:                       84,499      52,987         22,098                6,336
                                                 62.71%         26.15%                7.50%
          Voting Age                  66,468      44,302         15,620                4,116
                                                 66.65%         23.50%                6.19%
 County: McIntosh GA
         Total:                       10,975       7,060          3,400                  231
                                                 64.33%         30.98%                2.10%
          Voting Age                   9,040       5,998          2,641                  166
                                                 66.35%         29.21%                1.84%
 County: Ware GA
         Total:                       10,431       5,546          4,137                  446
                                                 53.17%         39.66%                4.28%
          Voting Age                   7,772       4,413          2,839                  264
                                                 56.78%         36.53%                3.40%
District 003 Total
           Total:                    191,212     126,645         44,238              13,033
                                                 66.23%         23.14%               6.82%
          Voting Age                 148,915     102,574         31,545               9,186
                                                 68.88%         21.18%               6.17%
District 004
 County: Bulloch GA
           Total:                     81,099      49,712         24,375                4,180
                                                 61.30%         30.06%                5.15%
          Voting Age                  64,494      41,041         18,220                3,021
                                                 63.64%         28.25%                4.68%
 County: Chatham GA
         Total:                       20,691      10,738          6,211                1,979
                                                 51.90%         30.02%                9.56%
          Voting Age                  15,943       8,779          4,455                1,348
                                                 55.06%         27.94%                8.46%
 County: Effingham GA
         Total:                       64,769      48,204         10,035                3,492
                                                 74.42%         15.49%                5.39%
          Voting Age                  47,295      36,237          6,831                2,054
                                                 76.62%         14.44%                4.34%
 County: Evans GA
         Total:                       10,774       6,038          3,273               1,237
                                                 56.04%         30.38%              11.48%
          Voting Age                   8,127       4,826          2,410                 731
                                                 59.38%         29.65%               8.99%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 004
 County: Screven GA
           Total:                     14,067       8,018          5,527                  287
                                                 57.00%         39.29%                2.04%
          Voting Age                  10,893       6,387          4,144                  188
                                                 58.63%         38.04%                1.73%
District 004 Total
           Total:                    191,400     122,710         49,421              11,175
                                                 64.11%         25.82%               5.84%
          Voting Age                 146,752      97,270         36,060               7,342
                                                 66.28%         24.57%               5.00%
District 005
 County: Gwinnett GA
           Total:                    193,203      49,780         60,613              53,260
                                                 25.77%         31.37%              27.57%
          Voting Age                 145,348      42,016         43,143              36,310
                                                 28.91%         29.68%              24.98%
District 005 Total
           Total:                    193,203      49,780         60,613              53,260
                                                 25.77%         31.37%              27.57%
          Voting Age                 145,348      42,016         43,143              36,310
                                                 28.91%         29.68%              24.98%
District 006
 County: Cobb GA
           Total:                     92,249      47,515         24,074                7,843
                                                 51.51%         26.10%                8.50%
          Voting Age                  75,423      40,514         19,059                5,897
                                                 53.72%         25.27%                7.82%
 County: Fulton GA
         Total:                       99,152      60,447         21,872                9,733
                                                 60.96%         22.06%                9.82%
          Voting Age                  80,358      49,510         18,172                6,939
                                                 61.61%         22.61%                8.64%
District 006 Total
           Total:                    191,401     107,962         45,946              17,576
                                                 56.41%         24.01%               9.18%
          Voting Age                 155,781      90,024         37,231              12,836
                                                 57.79%         23.90%               8.24%
District 007
 County: Gwinnett GA
           Total:                    190,077      45,573         41,057              66,394
                                                 23.98%         21.60%              34.93%
          Voting Age                 142,736      38,350         30,092              44,170
                                                 26.87%         21.08%              30.95%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 007
District 007 Total
           Total:                    190,077      45,573         41,057              66,394
                                                 23.98%         21.60%              34.93%
          Voting Age                 142,736      38,350         30,092              44,170
                                                 26.87%         21.08%              30.95%
District 008
 County: Atkinson GA
           Total:                      8,286       4,801          1,284               2,048
                                                 57.94%         15.50%              24.72%
          Voting Age                   6,129       3,787            937               1,282
                                                 61.79%         15.29%              20.92%
 County: Clinch GA
         Total:                        6,749       4,256          2,096                 253
                                                 63.06%         31.06%               3.75%
          Voting Age                   5,034       3,372          1,406                 156
                                                 66.98%         27.93%               3.10%
 County: Echols GA
         Total:                        3,697       2,328            193               1,091
                                                 62.97%          5.22%              29.51%
          Voting Age                   2,709       1,856            121                 667
                                                 68.51%          4.47%              24.62%
 County: Lanier GA
         Total:                        9,877       6,595          2,369                 572
                                                 66.77%         23.99%               5.79%
          Voting Age                   7,326       5,010          1,683                 370
                                                 68.39%         22.97%               5.05%
 County: Lowndes GA
         Total:                      118,251      59,306         46,758               7,872
                                                 50.15%         39.54%               6.66%
          Voting Age                  89,031      47,140         33,302               5,201
                                                 52.95%         37.40%               5.84%
 County: Pierce GA
         Total:                       19,716      16,403          1,801                 998
                                                 83.20%          9.13%               5.06%
          Voting Age                  14,899      12,662          1,262                 595
                                                 84.99%          8.47%               3.99%
 County: Ware GA
         Total:                       25,820      16,729          7,284               1,166
                                                 64.79%         28.21%               4.52%
          Voting Age                  20,016      13,405          5,387                 748
                                                 66.97%         26.91%               3.74%
District 008 Total
           Total:                    192,396     110,418         61,785              14,000
                                                 57.39%         32.11%               7.28%
          Voting Age                 145,144      87,232         44,098               9,019
                                                 60.10%         30.38%               6.21%
District 009



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 009
 County: Gwinnett GA
           Total:                    192,517      62,245         60,670              41,676
                                                 32.33%         31.51%              21.65%
          Voting Age                 141,460      50,943         41,834              27,433
                                                 36.01%         29.57%              19.39%
District 009 Total
           Total:                    192,517      62,245         60,670              41,676
                                                 32.33%         31.51%              21.65%
          Voting Age                 141,460      50,943         41,834              27,433
                                                 36.01%         29.57%              19.39%
District 010
 County: DeKalb GA
           Total:                    116,405      17,515         93,229                4,047
                                                 15.05%         80.09%                3.48%
          Voting Age                  92,261      15,111         72,801                2,878
                                                 16.38%         78.91%                3.12%
 County: Henry GA
         Total:                       76,159      21,748         43,934                6,681
                                                 28.56%         57.69%                8.77%
          Voting Age                  58,282      18,591         32,213                4,372
                                                 31.90%         55.27%                7.50%
District 010 Total
           Total:                    192,564      39,263        137,163              10,728
                                                 20.39%         71.23%               5.57%
          Voting Age                 150,543      33,702        105,014               7,250
                                                 22.39%         69.76%               4.82%
District 011
 County: Brooks GA
           Total:                     16,301       9,066          5,958                  955
                                                 55.62%         36.55%                5.86%
          Voting Age                  12,747       7,483          4,357                  635
                                                 58.70%         34.18%                4.98%
 County: Colquitt GA
         Total:                       45,898      25,588         10,648               8,709
                                                 55.75%         23.20%              18.97%
          Voting Age                  34,193      20,507          7,461               5,467
                                                 59.97%         21.82%              15.99%
 County: Cook GA
         Total:                       17,229      10,658          5,014                1,134
                                                 61.86%         29.10%                6.58%
          Voting Age                  12,938       8,310          3,595                  704
                                                 64.23%         27.79%                5.44%
 County: Decatur GA
         Total:                       29,367      14,280         12,583                1,911
                                                 48.63%         42.85%                6.51%
          Voting Age                  22,443      11,586          9,189                1,196
                                                 51.62%         40.94%                5.33%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 011
 County: Grady GA
           Total:                     26,236      14,715          7,693               3,273
                                                 56.09%         29.32%              12.48%
          Voting Age                  19,962      11,968          5,678               1,857
                                                 59.95%         28.44%               9.30%
 County: Seminole GA
         Total:                        9,147       5,617          3,093                  228
                                                 61.41%         33.81%                2.49%
          Voting Age                   7,277       4,681          2,275                  160
                                                 64.33%         31.26%                2.20%
 County: Thomas GA
         Total:                       45,798      25,994         16,975                1,577
                                                 56.76%         37.06%                3.44%
          Voting Age                  35,037      20,740         12,332                  970
                                                 59.19%         35.20%                2.77%
District 011 Total
           Total:                    189,976     105,918         61,964              17,787
                                                 55.75%         32.62%               9.36%
          Voting Age                 144,597      85,275         44,887              10,989
                                                 58.97%         31.04%               7.60%
District 012
 County: Baker GA
           Total:                      2,876       1,514          1,178                  143
                                                 52.64%         40.96%                4.97%
          Voting Age                   2,275       1,235            932                   77
                                                 54.29%         40.97%                3.38%
 County: Calhoun GA
         Total:                        5,573       1,766          3,629                  149
                                                 31.69%         65.12%                2.67%
          Voting Age                   4,687       1,567          2,998                   90
                                                 33.43%         63.96%                1.92%
 County: Clay GA
         Total:                        2,848       1,143          1,634                   41
                                                 40.13%         57.37%                1.44%
          Voting Age                   2,246         973          1,231                   19
                                                 43.32%         54.81%                0.85%
 County: Dougherty GA
         Total:                       85,790      20,631         61,457                2,413
                                                 24.05%         71.64%                2.81%
          Voting Age                  66,266      17,909         45,631                1,591
                                                 27.03%         68.86%                2.40%
 County: Early GA
         Total:                       10,854       4,813          5,688                  186
                                                 44.34%         52.40%                1.71%
          Voting Age                   8,315       3,985          4,075                  113
                                                 47.93%         49.01%                1.36%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 012
 County: Miller GA
           Total:                      6,000       3,949          1,831                  136
                                                 65.82%         30.52%                2.27%
          Voting Age                   4,749       3,239          1,358                   92
                                                 68.20%         28.60%                1.94%
 County: Mitchell GA
         Total:                       21,755      10,106         10,394                  964
                                                 46.45%         47.78%                4.43%
          Voting Age                  17,065       8,284          7,917                  615
                                                 48.54%         46.39%                3.60%
 County: Quitman GA
         Total:                        2,235       1,190            965                   31
                                                 53.24%         43.18%                1.39%
          Voting Age                   1,870       1,037            765                   18
                                                 55.45%         40.91%                0.96%
 County: Randolph GA
         Total:                        6,425       2,250          3,947                  143
                                                 35.02%         61.43%                2.23%
          Voting Age                   4,977       1,922          2,913                   82
                                                 38.62%         58.53%                1.65%
 County: Stewart GA
         Total:                        5,314       1,338          2,538               1,217
                                                 25.18%         47.76%              22.90%
          Voting Age                   4,617       1,161          2,048               1,196
                                                 25.15%         44.36%              25.90%
 County: Sumter GA
         Total:                       29,616      11,528         15,546                1,770
                                                 38.92%         52.49%                5.98%
          Voting Age                  23,036       9,800         11,479                1,147
                                                 42.54%         49.83%                4.98%
 County: Terrell GA
         Total:                        9,185       3,189          5,707                  177
                                                 34.72%         62.13%                1.93%
          Voting Age                   7,204       2,709          4,274                  121
                                                 37.60%         59.33%                1.68%
 County: Webster GA
         Total:                        2,348       1,136          1,107                   59
                                                 48.38%         47.15%                2.51%
          Voting Age                   1,847         931            844                   36
                                                 50.41%         45.70%                1.95%
District 012 Total
           Total:                    190,819      64,553        115,621                7,429
                                                 33.83%         60.59%                3.89%
          Voting Age                 149,154      54,752         86,465                5,197
                                                 36.71%         57.97%                3.48%
District 013




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Plan Components with Population Detail                                   Illustrative_Senate

                                      Total    NH_Wht          AP_Blk            [Hispanic
                                 Population                                        Origin]

District 013
 County: Ben Hill GA
           Total:                    17,194       9,219          6,537                1,054
                                                53.62%         38.02%                6.13%
         Voting Age                  13,165       7,459          4,745                  653
                                                56.66%         36.04%                4.96%
 County: Berrien GA
         Total:                      18,160      14,396          2,198                1,045
                                                79.27%         12.10%                5.75%
         Voting Age                  13,690      11,181          1,499                  622
                                                81.67%         10.95%                4.54%
 County: Crisp GA
         Total:                      20,128       9,892          9,194                  634
                                                49.15%         45.68%                3.15%
         Voting Age                  15,570       8,248          6,603                  414
                                                52.97%         42.41%                2.66%
 County: Dooly GA
         Total:                      11,208       4,611          5,652                  797
                                                41.14%         50.43%                7.11%
         Voting Age                   9,187       4,029          4,526                  493
                                                43.86%         49.27%                5.37%
 County: Irwin GA
         Total:                       9,666       6,402          2,333                  663
                                                66.23%         24.14%                6.86%
         Voting Age                   7,547       5,047          1,720                  545
                                                66.87%         22.79%                7.22%
 County: Lee GA
         Total:                      33,163      22,758          7,755                  953
                                                68.62%         23.38%                2.87%
         Voting Age                  24,676      17,356          5,503                  603
                                                70.34%         22.30%                2.44%
 County: Tift GA
         Total:                      41,344      22,189         12,734               5,219
                                                53.67%         30.80%              12.62%
         Voting Age                  31,224      18,011          8,963               3,295
                                                57.68%         28.71%              10.55%
 County: Turner GA
         Total:                       9,006       4,700          3,813                  372
                                                52.19%         42.34%                4.13%
         Voting Age                   6,960       3,891          2,752                  256
                                                55.91%         39.54%                3.68%
 County: Wilcox GA
         Total:                       8,766       5,185          3,161                  272
                                                59.15%         36.06%                3.10%
         Voting Age                   7,218       4,215          2,693                  209
                                                58.40%         37.31%                2.90%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 013
 County: Worth GA
           Total:                     20,784      14,427          5,517                  381
                                                 69.41%         26.54%                1.83%
          Voting Age                  16,444      11,747          4,108                  244
                                                 71.44%         24.98%                1.48%
District 013 Total
           Total:                    189,419     113,779         58,894              11,390
                                                 60.07%         31.09%               6.01%
          Voting Age                 145,681      91,184         43,112               7,334
                                                 62.59%         29.59%               5.03%
District 014
 County: Fulton GA
           Total:                    192,533     105,178         37,409              26,906
                                                 54.63%         19.43%              13.97%
          Voting Age                 155,340      88,706         29,470              18,844
                                                 57.10%         18.97%              12.13%
District 014 Total
           Total:                    192,533     105,178         37,409              26,906
                                                 54.63%         19.43%              13.97%
          Voting Age                 155,340      88,706         29,470              18,844
                                                 57.10%         18.97%              12.13%
District 015
 County: Chattahoochee GA
           Total:                      9,565       5,403          1,825               1,610
                                                 56.49%         19.08%              16.83%
          Voting Age                   7,199       4,212          1,287               1,160
                                                 58.51%         17.88%              16.11%
 County: Macon GA
         Total:                       12,082       4,078          7,296                  472
                                                 33.75%         60.39%                3.91%
          Voting Age                   9,938       3,379          6,021                  322
                                                 34.00%         60.59%                3.24%
 County: Marion GA
         Total:                        7,498       4,486          2,223                  560
                                                 59.83%         29.65%                7.47%
          Voting Age                   5,854       3,643          1,687                  337
                                                 62.23%         28.82%                5.76%
 County: Muscogee GA
         Total:                      142,205      40,201         87,188              11,247
                                                 28.27%         61.31%               7.91%
          Voting Age                 107,284      33,202         63,629               7,440
                                                 30.95%         59.31%               6.93%
 County: Schley GA
         Total:                        4,547       3,357            933                  175
                                                 73.83%         20.52%                3.85%
          Voting Age                   3,328       2,520            644                  103
                                                 75.72%         19.35%                3.09%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 015
 County: Talbot GA
           Total:                      5,733       2,427          3,145                  112
                                                 42.33%         54.86%                1.95%
          Voting Age                   4,783       2,129          2,537                   56
                                                 44.51%         53.04%                1.17%
 County: Taylor GA
         Total:                        7,816       4,584          2,946                  168
                                                 58.65%         37.69%                2.15%
          Voting Age                   6,120       3,686          2,235                  107
                                                 60.23%         36.52%                1.75%
District 015 Total
           Total:                    189,446      64,536        105,556              14,344
                                                 34.07%         55.72%               7.57%
          Voting Age                 144,506      52,771         78,040               9,525
                                                 36.52%         54.00%               6.59%
District 016
 County: Clayton GA
           Total:                     84,393       8,481         58,581              12,145
                                                 10.05%         69.41%              14.39%
          Voting Age                  63,302       7,654         43,544               7,777
                                                 12.09%         68.79%              12.29%
 County: Henry GA
         Total:                       79,973      24,906         44,877                5,995
                                                 31.14%         56.12%                7.50%
          Voting Age                  59,467      20,324         31,887                3,935
                                                 34.18%         53.62%                6.62%
 County: Spalding GA
         Total:                       25,726      15,772          7,534                1,627
                                                 61.31%         29.29%                6.32%
          Voting Age                  20,366      13,163          5,466                1,069
                                                 64.63%         26.84%                5.25%
District 016 Total
           Total:                    190,092      49,159        110,992              19,767
                                                 25.86%         58.39%              10.40%
          Voting Age                 143,135      41,141         80,897              12,781
                                                 28.74%         56.52%               8.93%
District 017
 County: DeKalb GA
           Total:                     57,301       1,419         54,512                1,420
                                                  2.48%         95.13%                2.48%
          Voting Age                  44,108       1,257         41,875                  998
                                                  2.85%         94.94%                2.26%
 County: Henry GA
         Total:                       84,580      39,643         36,400                5,761
                                                 46.87%         43.04%                6.81%
          Voting Age                  62,224      30,829         25,557                3,723
                                                 49.55%         41.07%                5.98%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 017
 County: Rockdale GA
           Total:                     49,438      13,639         31,215                3,021
                                                 27.59%         63.14%                6.11%
          Voting Age                  38,446      11,955         23,124                1,987
                                                 31.10%         60.15%                5.17%
District 017 Total
           Total:                    191,319      54,701        122,127              10,202
                                                 28.59%         63.83%               5.33%
          Voting Age                 144,778      44,041         90,556               6,708
                                                 30.42%         62.55%               4.63%
District 018
 County: Bibb GA
           Total:                     52,960      30,326         17,241                2,301
                                                 57.26%         32.55%                4.34%
          Voting Age                  42,073      25,237         12,870                1,626
                                                 59.98%         30.59%                3.86%
 County: Crawford GA
         Total:                       12,130       8,866          2,455                  415
                                                 73.09%         20.24%                3.42%
          Voting Age                   9,606       7,079          1,938                  287
                                                 73.69%         20.17%                2.99%
 County: Houston GA
         Total:                       43,883      26,391         12,338                2,065
                                                 60.14%         28.12%                4.71%
          Voting Age                  32,816      20,246          9,024                1,296
                                                 61.70%         27.50%                3.95%
 County: Monroe GA
         Total:                        8,872       7,178          1,203                  180
                                                 80.91%         13.56%                2.03%
          Voting Age                   7,087       5,754            999                  111
                                                 81.19%         14.10%                1.57%
 County: Peach GA
         Total:                       27,981      12,119         12,645                2,547
                                                 43.31%         45.19%                9.10%
          Voting Age                  22,111      10,071          9,720                1,788
                                                 45.55%         43.96%                8.09%
 County: Pike GA
         Total:                       18,889      16,313          1,613                  348
                                                 86.36%          8.54%                1.84%
          Voting Age                  14,337      12,422          1,254                  207
                                                 86.64%          8.75%                1.44%
 County: Upson GA
         Total:                       27,700      18,009          8,324                  633
                                                 65.01%         30.05%                2.29%
          Voting Age                  21,711      14,548          6,202                  411
                                                 67.01%         28.57%                1.89%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 018
District 018 Total
           Total:                    192,415     119,202         55,819                8,489
                                                 61.95%         29.01%                4.41%
          Voting Age                 149,741      95,357         42,007                5,726
                                                 63.68%         28.05%                3.82%
District 019
 County: Appling GA
           Total:                     18,444      12,674          3,647                1,825
                                                 68.72%         19.77%                9.89%
          Voting Age                  13,958      10,048          2,540                1,118
                                                 71.99%         18.20%                8.01%
 County: Bacon GA
         Total:                       11,140       8,103          1,970                  875
                                                 72.74%         17.68%                7.85%
          Voting Age                   8,310       6,374          1,245                  547
                                                 76.70%         14.98%                6.58%
 County: Coffee GA
         Total:                       43,092      24,158         12,575               5,430
                                                 56.06%         29.18%              12.60%
          Voting Age                  32,419      19,146          9,191               3,324
                                                 59.06%         28.35%              10.25%
 County: Jeff Davis GA
         Total:                       14,779       9,950          2,493               2,047
                                                 67.33%         16.87%              13.85%
          Voting Age                  10,856       7,643          1,752               1,233
                                                 70.40%         16.14%              11.36%
 County: Long GA
         Total:                       16,168       8,774          4,734               1,979
                                                 54.27%         29.28%              12.24%
          Voting Age                  11,234       6,422          3,107               1,227
                                                 57.17%         27.66%              10.92%
 County: Montgomery GA
         Total:                        8,610       5,665          2,224                  571
                                                 65.80%         25.83%                6.63%
          Voting Age                   6,792       4,527          1,781                  377
                                                 66.65%         26.22%                5.55%
 County: Tattnall GA
         Total:                       22,842      13,825          6,331               2,303
                                                 60.52%         27.72%              10.08%
          Voting Age                  17,654      11,020          4,886               1,419
                                                 62.42%         27.68%               8.04%
 County: Toombs GA
         Total:                       27,030      16,007          7,402               3,044
                                                 59.22%         27.38%              11.26%
          Voting Age                  20,261      12,810          5,036               1,978
                                                 63.22%         24.86%               9.76%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 019
 County: Wayne GA
           Total:                     30,144      21,301          6,390                1,732
                                                 70.66%         21.20%                5.75%
          Voting Age                  23,105      16,754          4,662                1,116
                                                 72.51%         20.18%                4.83%
District 019 Total
           Total:                    192,249     120,457         47,766              19,806
                                                 62.66%         24.85%              10.30%
          Voting Age                 144,589      94,744         34,200              12,339
                                                 65.53%         23.65%               8.53%
District 020
 County: Douglas GA
           Total:                    131,432      40,822         71,755              15,348
                                                 31.06%         54.59%              11.68%
          Voting Age                  98,679      34,311         51,582               9,791
                                                 34.77%         52.27%               9.92%
 County: Fulton GA
         Total:                       59,307       6,519         47,483                4,835
                                                 10.99%         80.06%                8.15%
          Voting Age                  44,498       5,740         34,961                3,257
                                                 12.90%         78.57%                7.32%
District 020 Total
           Total:                    190,739      47,341        119,238              20,183
                                                 24.82%         62.51%              10.58%
          Voting Age                 143,177      40,051         86,543              13,048
                                                 27.97%         60.44%               9.11%
District 021
 County: Cherokee GA
           Total:                    109,034      84,927          6,259              12,939
                                                 77.89%          5.74%              11.87%
          Voting Age                  82,623      66,763          4,208               8,139
                                                 80.80%          5.09%               9.85%
 County: Fulton GA
         Total:                       83,538      52,054          9,233                6,566
                                                 62.31%         11.05%                7.86%
          Voting Age                  62,497      40,439          6,615                4,582
                                                 64.71%         10.58%                7.33%
District 021 Total
           Total:                    192,572     136,981         15,492              19,505
                                                 71.13%          8.04%              10.13%
          Voting Age                 145,120     107,202         10,823              12,721
                                                 73.87%          7.46%               8.77%
District 022




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 022
 County: Glascock GA
           Total:                      2,884       2,573            226                   52
                                                 89.22%          7.84%                1.80%
          Voting Age                   2,236       2,003            167                   31
                                                 89.58%          7.47%                1.39%
 County: McDuffie GA
         Total:                       21,632      11,417          9,045                  790
                                                 52.78%         41.81%                3.65%
          Voting Age                  16,615       9,359          6,425                  536
                                                 56.33%         38.67%                3.23%
 County: Richmond GA
         Total:                      159,787      55,105         89,222                9,695
                                                 34.49%         55.84%                6.07%
          Voting Age                 125,899      47,422         66,038                7,258
                                                 37.67%         52.45%                5.76%
 County: Warren GA
         Total:                        5,215       1,974          3,128                   53
                                                 37.85%         59.98%                1.02%
          Voting Age                   4,159       1,716          2,360                   46
                                                 41.26%         56.74%                1.11%
District 022 Total
           Total:                    189,518      71,069        101,621              10,590
                                                 37.50%         53.62%               5.59%
          Voting Age                 148,909      60,500         74,990               7,871
                                                 40.63%         50.36%               5.29%
District 023
 County: Baldwin GA
           Total:                     43,799      22,432         18,985                1,139
                                                 51.22%         43.35%                2.60%
          Voting Age                  35,732      19,377         14,515                  835
                                                 54.23%         40.62%                2.34%
 County: Burke GA
         Total:                       24,596      11,941         11,430                  777
                                                 48.55%         46.47%                3.16%
          Voting Age                  18,778       9,566          8,362                  494
                                                 50.94%         44.53%                2.63%
 County: Hancock GA
         Total:                        8,735       2,413          6,131                   63
                                                 27.62%         70.19%                0.72%
          Voting Age                   7,487       2,220          5,108                   47
                                                 29.65%         68.22%                0.63%
 County: Jefferson GA
         Total:                       15,709       6,834          8,208                  462
                                                 43.50%         52.25%                2.94%
          Voting Age                  12,301       5,536          6,324                  280
                                                 45.00%         51.41%                2.28%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 023
 County: Jenkins GA
           Total:                      8,674       4,611          3,638                  303
                                                 53.16%         41.94%                3.49%
          Voting Age                   7,005       3,874          2,843                  194
                                                 55.30%         40.59%                2.77%
 County: Richmond GA
         Total:                       46,820      13,292         30,748                1,754
                                                 28.39%         65.67%                3.75%
          Voting Age                  35,000      10,981         21,892                1,187
                                                 31.37%         62.55%                3.39%
 County: Taliaferro GA
         Total:                        1,559         591            876                   69
                                                 37.91%         56.19%                4.43%
          Voting Age                   1,289         506            722                   46
                                                 39.26%         56.01%                3.57%
 County: Twiggs GA
         Total:                        8,022       4,487          3,226                  124
                                                 55.93%         40.21%                1.55%
          Voting Age                   6,589       3,733          2,627                   79
                                                 56.66%         39.87%                1.20%
 County: Washington GA
         Total:                       19,988       8,412         10,969                  334
                                                 42.09%         54.88%                1.67%
          Voting Age                  15,709       6,944          8,333                  235
                                                 44.20%         53.05%                1.50%
 County: Wilkes GA
         Total:                        3,302         757          2,356                  142
                                                 22.93%         71.35%                4.30%
          Voting Age                   2,538         637          1,773                   91
                                                 25.10%         69.86%                3.59%
 County: Wilkinson GA
         Total:                        8,877       5,110          3,330                  239
                                                 57.56%         37.51%                2.69%
          Voting Age                   7,026       4,165          2,549                  152
                                                 59.28%         36.28%                2.16%
District 023 Total
           Total:                    190,081      80,880         99,897                5,406
                                                 42.55%         52.55%                2.84%
          Voting Age                 149,454      67,539         75,048                3,640
                                                 45.19%         50.21%                2.44%
District 024
 County: Columbia GA
           Total:                    156,010      99,111         32,516              11,858
                                                 63.53%         20.84%               7.60%
          Voting Age                 114,823      76,070         22,273               7,355
                                                 66.25%         19.40%               6.41%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 024
 County: Elbert GA
           Total:                     19,637      12,610          5,520                  996
                                                 64.22%         28.11%                5.07%
          Voting Age                  15,493      10,322          4,122                  660
                                                 66.62%         26.61%                4.26%
 County: Lincoln GA
         Total:                        7,690       5,196          2,212                   92
                                                 67.57%         28.76%                1.20%
          Voting Age                   6,270       4,316          1,728                   54
                                                 68.84%         27.56%                0.86%
 County: Wilkes GA
         Total:                        6,263       4,195          1,633                  257
                                                 66.98%         26.07%                4.10%
          Voting Age                   5,113       3,517          1,298                  152
                                                 68.79%         25.39%                2.97%
District 024 Total
           Total:                    189,600     121,112         41,881              13,203
                                                 63.88%         22.09%               6.96%
          Voting Age                 141,699      94,225         29,421               8,221
                                                 66.50%         20.76%               5.80%
District 025
 County: Bleckley GA
           Total:                     12,583       8,867          2,951                  469
                                                 70.47%         23.45%                3.73%
          Voting Age                   9,613       7,032          2,036                  311
                                                 73.15%         21.18%                3.24%
 County: Candler GA
         Total:                       10,981       6,567          2,807               1,378
                                                 59.80%         25.56%              12.55%
          Voting Age                   8,241       5,229          2,009                 835
                                                 63.45%         24.38%              10.13%
 County: Dodge GA
         Total:                       19,925      12,865          6,148                  620
                                                 64.57%         30.86%                3.11%
          Voting Age                  15,709      10,360          4,725                  406
                                                 65.95%         30.08%                2.58%
 County: Emanuel GA
         Total:                       22,768      13,815          7,556                  993
                                                 60.68%         33.19%                4.36%
          Voting Age                  17,320      11,013          5,404                  589
                                                 63.59%         31.20%                3.40%
 County: Houston GA
         Total:                       30,972      19,859          7,386                1,916
                                                 64.12%         23.85%                6.19%
          Voting Age                  22,577      14,912          5,113                1,178
                                                 66.05%         22.65%                5.22%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 025
 County: Johnson GA
           Total:                      9,189       5,800          3,124                  117
                                                 63.12%         34.00%                1.27%
          Voting Age                   7,474       4,790          2,513                   82
                                                 64.09%         33.62%                1.10%
 County: Laurens GA
         Total:                       49,570      27,881         19,132                1,424
                                                 56.25%         38.60%                2.87%
          Voting Age                  37,734      22,229         13,695                  923
                                                 58.91%         36.29%                2.45%
 County: Pulaski GA
         Total:                        9,855       6,022          3,250                  327
                                                 61.11%         32.98%                3.32%
          Voting Age                   8,012       5,027          2,564                  224
                                                 62.74%         32.00%                2.80%
 County: Telfair GA
         Total:                       12,477       5,970          4,754               1,928
                                                 47.85%         38.10%              15.45%
          Voting Age                  10,190       4,802          3,806               1,757
                                                 47.12%         37.35%              17.24%
 County: Treutlen GA
         Total:                        6,406       4,065          2,114                  170
                                                 63.46%         33.00%                2.65%
          Voting Age                   4,934       3,272          1,514                   98
                                                 66.32%         30.69%                1.99%
 County: Wheeler GA
         Total:                        7,471       4,157          2,949                  272
                                                 55.64%         39.47%                3.64%
          Voting Age                   6,217       3,418          2,561                  174
                                                 54.98%         41.19%                2.80%
District 025 Total
           Total:                    192,197     115,868         62,171                9,614
                                                 60.29%         32.35%                5.00%
          Voting Age                 148,021      92,084         45,940                6,577
                                                 62.21%         31.04%                4.44%
District 026
 County: Bibb GA
           Total:                    104,386      26,461         71,624                4,436
                                                 25.35%         68.61%                4.25%
          Voting Age                  78,829      22,742         51,400                3,108
                                                 28.85%         65.20%                3.94%
 County: Houston GA
         Total:                       88,778      39,961         36,796                7,826
                                                 45.01%         41.45%                8.82%
          Voting Age                  66,725      32,860         25,468                5,056
                                                 49.25%         38.17%                7.58%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 026
District 026 Total
           Total:                    193,164      66,422        108,420              12,262
                                                 34.39%         56.13%               6.35%
          Voting Age                 145,554      55,602         76,868               8,164
                                                 38.20%         52.81%               5.61%
District 027
 County: Forsyth GA
           Total:                    190,676     129,651         10,506              22,131
                                                 68.00%          5.51%              11.61%
          Voting Age                 139,196      99,531          6,961              14,200
                                                 71.50%          5.00%              10.20%
District 027 Total
           Total:                    190,676     129,651         10,506              22,131
                                                 68.00%          5.51%              11.61%
          Voting Age                 139,196      99,531          6,961              14,200
                                                 71.50%          5.00%              10.20%
District 028
 County: Clayton GA
           Total:                     73,570       8,051         56,865               7,401
                                                 10.94%         77.29%              10.06%
          Voting Age                  54,974       7,252         41,590               4,898
                                                 13.19%         75.65%               8.91%
 County: Fayette GA
         Total:                       74,742      36,393         27,910                5,899
                                                 48.69%         37.34%                7.89%
          Voting Age                  58,345      30,275         20,819                3,801
                                                 51.89%         35.68%                6.51%
 County: Spalding GA
         Total:                       41,580      21,333         16,988                2,039
                                                 51.31%         40.86%                4.90%
          Voting Age                  31,757      17,449         12,045                1,308
                                                 54.95%         37.93%                4.12%
District 028 Total
           Total:                    189,892      65,777        101,763              15,339
                                                 34.64%         53.59%               8.08%
          Voting Age                 145,076      54,976         74,454              10,007
                                                 37.89%         51.32%               6.90%
District 029
 County: Harris GA
           Total:                     34,668      25,925          5,742                1,417
                                                 74.78%         16.56%                4.09%
          Voting Age                  26,799      20,298          4,431                  908
                                                 75.74%         16.53%                3.39%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 029
 County: Meriwether GA
           Total:                     20,613      12,084          7,547                  475
                                                 58.62%         36.61%                2.30%
          Voting Age                  16,526       9,994          5,845                  299
                                                 60.47%         35.37%                1.81%
 County: Muscogee GA
         Total:                       64,717      38,882         15,024                5,266
                                                 60.08%         23.21%                8.14%
          Voting Age                  49,768      31,433         10,672                3,454
                                                 63.16%         21.44%                6.94%
 County: Troup GA
         Total:                       69,426      38,099         25,473                2,956
                                                 54.88%         36.69%                4.26%
          Voting Age                  52,581      30,377         18,202                1,822
                                                 57.77%         34.62%                3.47%
District 029 Total
           Total:                    189,424     114,990         53,786              10,114
                                                 60.71%         28.39%               5.34%
          Voting Age                 145,674      92,102         39,150               6,483
                                                 63.22%         26.88%               4.45%
District 030
 County: Carroll GA
           Total:                    119,148      80,725         24,618                9,586
                                                 67.75%         20.66%                8.05%
          Voting Age                  90,996      63,803         17,827                6,129
                                                 70.12%         19.59%                6.74%
 County: Douglas GA
         Total:                       12,805       9,055          2,505                  687
                                                 70.71%         19.56%                5.37%
          Voting Age                   9,749       7,105          1,795                  421
                                                 72.88%         18.41%                4.32%
 County: Haralson GA
         Total:                       29,919      26,825          1,541                  497
                                                 89.66%          5.15%                1.66%
          Voting Age                  22,854      20,617          1,106                  323
                                                 90.21%          4.84%                1.41%
 County: Heard GA
         Total:                       11,412       9,589          1,142                  253
                                                 84.03%         10.01%                2.22%
          Voting Age                   8,698       7,407            832                  153
                                                 85.16%          9.57%                1.76%
 County: Paulding GA
         Total:                       18,954      13,062          4,048                1,106
                                                 68.91%         21.36%                5.84%
          Voting Age                  13,985      10,021          2,715                  675
                                                 71.66%         19.41%                4.83%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 030
District 030 Total
           Total:                    192,238     139,256         33,854              12,129
                                                 72.44%         17.61%               6.31%
          Voting Age                 146,282     108,953         24,275               7,701
                                                 74.48%         16.59%               5.26%
District 031
 County: Paulding GA
           Total:                    149,707      95,382         37,248              11,458
                                                 63.71%         24.88%               7.65%
          Voting Age                 110,013      73,045         25,449               7,299
                                                 66.40%         23.13%               6.63%
 County: Polk GA
         Total:                       42,853      30,161          5,816               5,585
                                                 70.38%         13.57%              13.03%
          Voting Age                  32,238      24,049          3,991               3,252
                                                 74.60%         12.38%              10.09%
District 031 Total
           Total:                    192,560     125,543         43,064              17,043
                                                 65.20%         22.36%               8.85%
          Voting Age                 142,251      97,094         29,440              10,551
                                                 68.26%         20.70%               7.42%
District 032
 County: Cherokee GA
           Total:                     90,981      64,930          9,461              11,002
                                                 71.37%         10.40%              12.09%
          Voting Age                  69,190      51,294          6,571               7,233
                                                 74.13%          9.50%              10.45%
 County: Cobb GA
         Total:                      101,467      56,571         20,578              12,274
                                                 55.75%         20.28%              12.10%
          Voting Age                  80,689      47,295         15,703               8,575
                                                 58.61%         19.46%              10.63%
District 032 Total
           Total:                    192,448     121,501         30,039              23,276
                                                 63.13%         15.61%              12.09%
          Voting Age                 149,879      98,589         22,274              15,808
                                                 65.78%         14.86%              10.55%
District 033
 County: Cobb GA
           Total:                    176,205      39,355         88,499              43,928
                                                 22.33%         50.23%              24.93%
          Voting Age                 132,060      34,523         65,097              28,243
                                                 26.14%         49.29%              21.39%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 033
 County: Fulton GA
           Total:                     13,161         172         12,524                  449
                                                  1.31%         95.16%                3.41%
          Voting Age                  10,215         149          9,736                  292
                                                  1.46%         95.31%                2.86%
District 033 Total
           Total:                    189,366      39,527        101,023              44,377
                                                 20.87%         53.35%              23.43%
          Voting Age                 142,275      34,672         74,833              28,535
                                                 24.37%         52.60%              20.06%
District 034
 County: Clayton GA
           Total:                    139,632       9,370        100,905              23,000
                                                  6.71%         72.26%              16.47%
          Voting Age                 102,302       8,490         73,720              14,703
                                                  8.30%         72.06%              14.37%
 County: Fulton GA
         Total:                       52,788       1,553         49,181                1,906
                                                  2.94%         93.17%                3.61%
          Voting Age                  39,253       1,405         36,464                1,228
                                                  3.58%         92.89%                3.13%
District 034 Total
           Total:                    192,420      10,923        150,086              24,906
                                                  5.68%         78.00%              12.94%
          Voting Age                 141,555       9,895        110,184              15,931
                                                  6.99%         77.84%              11.25%
District 035
 County: Fulton GA
           Total:                    191,120      48,692        121,353              11,312
                                                 25.48%         63.50%               5.92%
          Voting Age                 156,232      43,695         94,985               8,626
                                                 27.97%         60.80%               5.52%
District 035 Total
           Total:                    191,120      48,692        121,353              11,312
                                                 25.48%         63.50%               5.92%
          Voting Age                 156,232      43,695         94,985               8,626
                                                 27.97%         60.80%               5.52%
District 036
 County: Fulton GA
           Total:                    192,282      63,642        104,523              14,534
                                                 33.10%         54.36%               7.56%
          Voting Age                 161,385      58,394         82,859              11,394
                                                 36.18%         51.34%               7.06%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 036
District 036 Total
           Total:                    192,282      63,642        104,523              14,534
                                                 33.10%         54.36%               7.56%
          Voting Age                 161,385      58,394         82,859              11,394
                                                 36.18%         51.34%               7.06%
District 037
 County: Bartow GA
           Total:                     11,130       8,430            646               1,528
                                                 75.74%          5.80%              13.73%
          Voting Age                   8,818       6,997            435                 936
                                                 79.35%          4.93%              10.61%
 County: Cobb GA
         Total:                      181,541     111,749         39,545              17,714
                                                 61.56%         21.78%               9.76%
          Voting Age                 138,961      89,599         28,049              11,900
                                                 64.48%         20.18%               8.56%
District 037 Total
           Total:                    192,671     120,179         40,191              19,242
                                                 62.38%         20.86%               9.99%
          Voting Age                 147,779      96,596         28,484              12,836
                                                 65.37%         19.27%               8.69%
District 038
 County: Cobb GA
           Total:                    124,794      47,841         43,724              23,486
                                                 38.34%         35.04%              18.82%
          Voting Age                  98,162      40,797         33,536              15,984
                                                 41.56%         34.16%              16.28%
 County: Fulton GA
         Total:                       64,882       1,309         61,294               2,252
                                                  2.02%         94.47%               3.47%
          Voting Age                  48,993       1,160         46,300               1,447
                                                  2.37%         94.50%               2.95%
District 038 Total
           Total:                    189,676      49,150        105,018              25,738
                                                 25.91%         55.37%              13.57%
          Voting Age                 147,155      41,957         79,836              17,431
                                                 28.51%         54.25%              11.85%
District 039
 County: Coweta GA
           Total:                    146,158      99,421         28,289              11,053
                                                 68.02%         19.36%               7.56%
          Voting Age                 111,155      78,073         20,196               7,384
                                                 70.24%         18.17%               6.64%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 039
 County: Fayette GA
           Total:                     44,452      31,751          4,166               3,581
                                                 71.43%          9.37%               8.06%
          Voting Age                  33,453      24,827          2,909               2,367
                                                 74.21%          8.70%               7.08%
District 039 Total
           Total:                    190,610     131,172         32,455              14,634
                                                 68.82%         17.03%               7.68%
          Voting Age                 144,608     102,900         23,105               9,751
                                                 71.16%         15.98%               6.74%
District 040
 County: DeKalb GA
           Total:                    164,997      74,345         27,095              40,942
                                                 45.06%         16.42%              24.81%
          Voting Age                 127,423      60,620         21,898              27,542
                                                 47.57%         17.19%              21.61%
 County: Gwinnett GA
         Total:                       25,547       8,906          8,624               6,338
                                                 34.86%         33.76%              24.81%
          Voting Age                  19,577       7,501          6,379               4,240
                                                 38.32%         32.58%              21.66%
District 040 Total
           Total:                    190,544      83,251         35,719              47,280
                                                 43.69%         18.75%              24.81%
          Voting Age                 147,000      68,121         28,277              31,782
                                                 46.34%         19.24%              21.62%
District 041
 County: DeKalb GA
           Total:                    168,540      24,464        119,186              11,921
                                                 14.52%         70.72%               7.07%
          Voting Age                 129,439      21,519         90,227               8,325
                                                 16.62%         69.71%               6.43%
 County: Gwinnett GA
         Total:                       21,948       6,702          5,603               4,368
                                                 30.54%         25.53%              19.90%
          Voting Age                  16,402       5,589          3,937               2,833
                                                 34.08%         24.00%              17.27%
District 041 Total
           Total:                    190,488      31,166        124,789              16,289
                                                 16.36%         65.51%               8.55%
          Voting Age                 145,841      27,108         94,164              11,158
                                                 18.59%         64.57%               7.65%
District 042




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 042
 County: DeKalb GA
           Total:                    190,522      95,982         52,217              20,195
                                                 50.38%         27.41%              10.60%
          Voting Age                 151,327      79,710         40,946              13,846
                                                 52.67%         27.06%               9.15%
District 042 Total
           Total:                    190,522      95,982         52,217              20,195
                                                 50.38%         27.41%              10.60%
          Voting Age                 151,327      79,710         40,946              13,846
                                                 52.67%         27.06%               9.15%
District 043
 County: DeKalb GA
           Total:                     35,612       1,200         32,812               1,573
                                                  3.37%         92.14%               4.42%
          Voting Age                  26,753       1,077         24,552               1,034
                                                  4.03%         91.77%               3.86%
 County: Newton GA
         Total:                      112,483      46,746         55,901               7,164
                                                 41.56%         49.70%               6.37%
          Voting Age                  84,748      37,631         40,433               4,561
                                                 44.40%         47.71%               5.38%
 County: Rockdale GA
         Total:                       44,132      10,861         25,989               6,519
                                                 24.61%         58.89%              14.77%
          Voting Age                  33,057       9,502         18,811               4,102
                                                 28.74%         56.90%              12.41%
District 043 Total
           Total:                    192,227      58,807        114,702              15,256
                                                 30.59%         59.67%               7.94%
          Voting Age                 144,558      48,210         83,796               9,697
                                                 33.35%         57.97%               6.71%
District 044
 County: Butts GA
           Total:                     25,434      16,628          7,212                 803
                                                 65.38%         28.36%               3.16%
          Voting Age                  20,360      13,510          5,660                 559
                                                 66.36%         27.80%               2.75%
 County: Jasper GA
         Total:                       14,588      10,771          2,676                 684
                                                 73.83%         18.34%               4.69%
          Voting Age                  11,118       8,400          1,966                 402
                                                 75.55%         17.68%               3.62%
 County: Jones GA
         Total:                       28,347      20,074          7,114                 476
                                                 70.82%         25.10%               1.68%
          Voting Age                  21,575      15,428          5,341                 302
                                                 71.51%         24.76%               1.40%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 044
 County: Lamar GA
           Total:                     18,500      12,344          5,220                 475
                                                 66.72%         28.22%               2.57%
          Voting Age                  14,541       9,852          4,017                 323
                                                 67.75%         27.63%               2.22%
 County: Monroe GA
         Total:                       19,085      12,776          5,241                 534
                                                 66.94%         27.46%               2.80%
          Voting Age                  14,826      10,017          4,069                 353
                                                 67.56%         27.45%               2.38%
 County: Morgan GA
         Total:                       20,097      14,487          4,339                 712
                                                 72.09%         21.59%               3.54%
          Voting Age                  15,574      11,452          3,280                 434
                                                 73.53%         21.06%               2.79%
 County: Putnam GA
         Total:                       22,047      14,316          5,701               1,557
                                                 64.93%         25.86%               7.06%
          Voting Age                  17,847      12,209          4,229               1,031
                                                 68.41%         23.70%               5.78%
 County: Walton GA
         Total:                       43,630      32,525          7,743               1,756
                                                 74.55%         17.75%               4.02%
          Voting Age                  33,050      25,341          5,481               1,093
                                                 76.67%         16.58%               3.31%
District 044 Total
           Total:                    191,728     133,921         45,246               6,997
                                                 69.85%         23.60%               3.65%
          Voting Age                 148,891     106,209         34,043               4,497
                                                 71.33%         22.86%               3.02%
District 045
 County: Barrow GA
           Total:                     14,237      10,361          1,139               1,623
                                                 72.78%          8.00%              11.40%
          Voting Age                  10,926       8,215            777               1,062
                                                 75.19%          7.11%               9.72%
 County: Gwinnett GA
         Total:                      178,773      85,898         42,002              27,715
                                                 48.05%         23.49%              15.50%
          Voting Age                 130,468      66,187         29,007              18,248
                                                 50.73%         22.23%              13.99%
District 045 Total
           Total:                    193,010      96,259         43,141              29,338
                                                 49.87%         22.35%              15.20%
          Voting Age                 141,394      74,402         29,784              19,310
                                                 52.62%         21.06%              13.66%
District 046



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 046
 County: Clarke GA
           Total:                    128,671      72,201         33,672              14,336
                                                 56.11%         26.17%              11.14%
          Voting Age                 106,830      64,531         24,776              10,213
                                                 60.41%         23.19%               9.56%
 County: Greene GA
         Total:                       18,915      11,126          6,027               1,289
                                                 58.82%         31.86%               6.81%
          Voting Age                  15,358       9,675          4,470                 826
                                                 63.00%         29.11%               5.38%
 County: Oconee GA
         Total:                       41,799      33,886          2,280               2,347
                                                 81.07%          5.45%               5.61%
          Voting Age                  30,221      24,942          1,660               1,405
                                                 82.53%          5.49%               4.65%
District 046 Total
           Total:                    189,385     117,213         41,979              17,972
                                                 61.89%         22.17%               9.49%
          Voting Age                 152,409      99,148         30,906              12,444
                                                 65.05%         20.28%               8.16%
District 047
 County: Barrow GA
           Total:                     69,268      45,221         10,768               8,937
                                                 65.28%         15.55%              12.90%
          Voting Age                  51,269      35,026          7,445               5,664
                                                 68.32%         14.52%              11.05%
 County: Jackson GA
         Total:                       75,907      59,064          6,148               6,712
                                                 77.81%          8.10%               8.84%
          Voting Age                  56,451      45,015          4,268               4,261
                                                 79.74%          7.56%               7.55%
 County: Madison GA
         Total:                       30,120      23,549          3,196               1,956
                                                 78.18%         10.61%               6.49%
          Voting Age                  23,112      18,643          2,225               1,198
                                                 80.66%          9.63%               5.18%
 County: Oglethorpe GA
         Total:                       14,825      10,903          2,468                 869
                                                 73.54%         16.65%               5.86%
          Voting Age                  11,639       8,799          1,853                 531
                                                 75.60%         15.92%               4.56%
District 047 Total
           Total:                    190,120     138,737         22,580              18,474
                                                 72.97%         11.88%               9.72%
          Voting Age                 142,471     107,483         15,791              11,654
                                                 75.44%         11.08%               8.18%
District 048



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 048
 County: Forsyth GA
           Total:                     60,607      29,756          2,716               3,095
                                                 49.10%          4.48%               5.11%
          Voting Age                  41,997      22,486          1,790               2,004
                                                 53.54%          4.26%               4.77%
 County: Fulton GA
         Total:                       83,219      38,078          9,960               5,476
                                                 45.76%         11.97%               6.58%
          Voting Age                  61,631      29,982          7,027               3,696
                                                 48.65%         11.40%               6.00%
 County: Gwinnett GA
         Total:                       46,297      25,343          6,203               5,847
                                                 54.74%         13.40%              12.63%
          Voting Age                  33,367      19,107          4,151               3,884
                                                 57.26%         12.44%              11.64%
District 048 Total
           Total:                    190,123      93,177        18,879               14,418
                                                 49.01%         9.93%                7.58%
          Voting Age                 136,995      71,575        12,968                9,584
                                                 52.25%         9.47%                7.00%
District 049
 County: Hall GA
           Total:                    192,420     116,008        16,310               51,698
                                                 60.29%         8.48%               26.87%
          Voting Age                 146,234      95,226        11,610               32,855
                                                 65.12%         7.94%               22.47%
District 049 Total
           Total:                    192,420     116,008        16,310               51,698
                                                 60.29%         8.48%               26.87%
          Voting Age                 146,234      95,226        11,610               32,855
                                                 65.12%         7.94%               22.47%
District 050
 County: Banks GA
           Total:                     18,035      15,578            589               1,164
                                                 86.38%          3.27%               6.45%
          Voting Age                  13,900      12,278            365                 721
                                                 88.33%          2.63%               5.19%
 County: Franklin GA
         Total:                       23,424      19,262          2,207               1,121
                                                 82.23%          9.42%               4.79%
          Voting Age                  18,307      15,466          1,523                 678
                                                 84.48%          8.32%               3.70%
 County: Habersham GA
         Total:                       46,031      34,694          2,165               6,880
                                                 75.37%          4.70%              14.95%
          Voting Age                  35,878      28,299          1,675               4,115
                                                 78.88%          4.67%              11.47%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 050
 County: Hall GA
           Total:                     10,716       4,410            696               5,312
                                                 41.15%          6.49%              49.57%
          Voting Age                   7,610       3,574            484               3,291
                                                 46.96%          6.36%              43.25%
 County: Hart GA
         Total:                       25,828      19,250          4,732                 931
                                                 74.53%         18.32%               3.60%
          Voting Age                  20,436      15,761          3,447                 578
                                                 77.12%         16.87%               2.83%
 County: Rabun GA
         Total:                       16,883      14,625            210               1,452
                                                 86.63%          1.24%               8.60%
          Voting Age                  13,767      12,236            129                 928
                                                 88.88%          0.94%               6.74%
 County: Stephens GA
         Total:                       26,784      21,323          3,527                 857
                                                 79.61%         13.17%               3.20%
          Voting Age                  21,163      17,310          2,467                 578
                                                 81.79%         11.66%               2.73%
 County: Towns GA
         Total:                       12,493      11,469            168                 415
                                                 91.80%          1.34%               3.32%
          Voting Age                  10,923      10,100            137                 338
                                                 92.47%          1.25%               3.09%
 County: White GA
         Total:                       12,642      11,464            198                 356
                                                 90.68%          1.57%               2.82%
          Voting Age                  10,253       9,411            124                 233
                                                 91.79%          1.21%               2.27%
District 050 Total
           Total:                    192,836     152,075        14,492               18,488
                                                 78.86%         7.52%                9.59%
          Voting Age                 152,237     124,435        10,351               11,460
                                                 81.74%         6.80%                7.53%
District 051
 County: Dawson GA
           Total:                     26,798      23,544            392               1,605
                                                 87.86%          1.46%               5.99%
          Voting Age                  21,441      19,183            249               1,047
                                                 89.47%          1.16%               4.88%
 County: Fannin GA
         Total:                       25,319      23,351            199                 753
                                                 92.23%          0.79%               2.97%
          Voting Age                  21,188      19,721            133                 505
                                                 93.08%          0.63%               2.38%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 051
 County: Gilmer GA
           Total:                     31,353      26,365            296               3,599
                                                 84.09%          0.94%              11.48%
          Voting Age                  25,417      22,187            161               2,158
                                                 87.29%          0.63%               8.49%
 County: Lumpkin GA
         Total:                       33,488      29,241            685               1,790
                                                 87.32%          2.05%               5.35%
          Voting Age                  27,689      24,419            507               1,345
                                                 88.19%          1.83%               4.86%
 County: Pickens GA
         Total:                       33,216      30,122            512               1,198
                                                 90.69%          1.54%               3.61%
          Voting Age                  26,799      24,626            319                 755
                                                 91.89%          1.19%               2.82%
 County: Union GA
         Total:                       24,632      22,646            228                 816
                                                 91.94%          0.93%               3.31%
          Voting Age                  20,808      19,351            147                 563
                                                 93.00%          0.71%               2.71%
 County: White GA
         Total:                       15,361      13,495            523                 557
                                                 87.85%          3.40%               3.63%
          Voting Age                  12,229      10,907            360                 372
                                                 89.19%          2.94%               3.04%
District 051 Total
           Total:                    190,167     168,764          2,835              10,318
                                                 88.75%          1.49%               5.43%
          Voting Age                 155,571     140,394          1,876               6,745
                                                 90.24%          1.21%               4.34%
District 052
 County: Bartow GA
           Total:                     97,771      71,729         12,749               9,223
                                                 73.36%         13.04%               9.43%
          Voting Age                  74,752      56,762          8,942               5,881
                                                 75.93%         11.96%               7.87%
 County: Floyd GA
         Total:                       85,090      58,363         14,081               9,582
                                                 68.59%         16.55%              11.26%
          Voting Age                  65,739      47,378         10,019               5,920
                                                 72.07%         15.24%               9.01%
 County: Gordon GA
         Total:                        7,938       6,899            266                 487
                                                 86.91%          3.35%               6.14%
          Voting Age                   6,129       5,443            159                 282
                                                 88.81%          2.59%               4.60%




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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 052
District 052 Total
           Total:                    190,799     136,991         27,096              19,292
                                                 71.80%         14.20%              10.11%
          Voting Age                 146,620     109,583         19,120              12,083
                                                 74.74%         13.04%               8.24%
District 053
 County: Catoosa GA
           Total:                     67,872      59,280          2,642               2,341
                                                 87.34%          3.89%               3.45%
          Voting Age                  52,448      46,578          1,684               1,492
                                                 88.81%          3.21%               2.84%
 County: Chattooga GA
         Total:                       24,965      20,079          2,865               1,297
                                                 80.43%         11.48%               5.20%
          Voting Age                  19,416      15,885          2,235                 733
                                                 81.81%         11.51%               3.78%
 County: Dade GA
         Total:                       16,251      14,786            228                 364
                                                 90.99%          1.40%               2.24%
          Voting Age                  12,987      11,925            140                 243
                                                 91.82%          1.08%               1.87%
 County: Floyd GA
         Total:                       13,494       9,384          1,525               1,884
                                                 69.54%         11.30%              13.96%
          Voting Age                  10,556       7,710          1,045               1,247
                                                 73.04%          9.90%              11.81%
 County: Walker GA
         Total:                       67,654      59,654          3,664               1,685
                                                 88.18%          5.42%               2.49%
          Voting Age                  52,794      47,292          2,454               1,066
                                                 89.58%          4.65%               2.02%
District 053 Total
           Total:                    190,236     163,183        10,924                7,571
                                                 85.78%         5.74%                3.98%
          Voting Age                 148,201     129,390         7,558                4,781
                                                 87.31%         5.10%                3.23%
District 054
 County: Gordon GA
           Total:                     49,606      36,418          2,653               8,470
                                                 73.41%          5.35%              17.07%
          Voting Age                  37,371      28,641          1,780               5,310
                                                 76.64%          4.76%              14.21%
 County: Murray GA
         Total:                       39,973      32,164            556               5,914
                                                 80.46%          1.39%              14.79%
          Voting Age                  30,210      25,146            321               3,696
                                                 83.24%          1.06%              12.23%



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Plan Components with Population Detail                                    Illustrative_Senate

                                       Total    NH_Wht          AP_Blk            [Hispanic
                                  Population                                        Origin]

District 054
 County: Whitfield GA
           Total:                    102,864      57,875          4,919              36,916
                                                 56.26%          4.78%              35.89%
          Voting Age                  76,262      46,881          3,349              23,553
                                                 61.47%          4.39%              30.88%
District 054 Total
           Total:                    192,443     126,457          8,128              51,300
                                                 65.71%          4.22%              26.66%
          Voting Age                 143,843     100,668          5,450              32,559
                                                 69.98%          3.79%              22.64%
District 055
 County: DeKalb GA
           Total:                     31,005         970         28,400                1,373
                                                  3.13%         91.60%                4.43%
          Voting Age                  23,965         867         21,931                  883
                                                  3.62%         91.51%                3.68%
 County: Gwinnett GA
         Total:                      108,700      26,136         62,915              14,862
                                                 24.04%         57.88%              13.67%
          Voting Age                  80,126      22,348         44,219               9,541
                                                 27.89%         55.19%              11.91%
 County: Walton GA
         Total:                       53,043      35,974         11,061                3,472
                                                 67.82%         20.85%                6.55%
          Voting Age                  40,048      28,306          7,684                2,143
                                                 70.68%         19.19%                5.35%
District 055 Total
           Total:                    192,748      63,080        102,376              19,707
                                                 32.73%         53.11%              10.22%
          Voting Age                 144,139      51,521         73,834              12,567
                                                 35.74%         51.22%               8.72%
District 056
 County: Cherokee GA
           Total:                     66,605      48,010          5,967               8,170
                                                 72.08%          8.96%              12.27%
          Voting Age                  51,115      38,098          4,197               5,543
                                                 74.53%          8.21%              10.84%
 County: Cobb GA
         Total:                       89,893      66,151          6,696                5,995
                                                 73.59%          7.45%                6.67%
          Voting Age                  66,553      50,572          4,697                3,906
                                                 75.99%          7.06%                5.87%
 County: Fulton GA
         Total:                       34,728      27,149          2,792                2,333
                                                 78.18%          8.04%                6.72%
          Voting Age                  26,780      21,361          2,046                1,609
                                                 79.76%          7.64%                6.01%



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Plan Components with Population Detail                                   Illustrative_Senate

                                       Total    NH_Wht          AP_Blk           [Hispanic
                                  Population                                       Origin]

District 056
District 056 Total
           Total:                    191,226     141,310        15,455              16,498
                                                 73.90%         8.08%               8.63%
          Voting Age                 144,448     110,031        10,940              11,058
                                                 76.17%         7.57%               7.66%




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      User:
Plan Name: Illustrative_Senate
 Plan Type: Senate


Core Constituencies
Friday, November 18, 2022                                                                                         1:04 PM


From Plan:          Ga_SB1EX


Plan: Illustrative_Senate, District 001 --                       191,452 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 001                 191,402 (99.97%)   112,744 (99.99%)    51,779 (99.94%)      16,810 (99.98%)
Dist. 002                     50 (0.03%)         11 (0.01%)         33 (0.06%)             4 (0.02%)
Dist. 004                       0 (0.00%)          0 (0.00%)            (0.00%)              (0.00%)
Total and % Population                       112,755 (58.89%)    51,812 (27.06%)      16,814 (8.78%)


Plan: Illustrative_Senate, District 002 --                       193,142 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 002                 190,358 (98.56%)    69,304 (97.25%)    95,684 (99.63%)      15,913 (99.13%)
Dist. 004                   2,784 (1.44%)      1,961 (2.75%)       360 (0.37%)           139 (0.87%)
Total and % Population                        71,265 (36.90%)    96,044 (49.73%)      16,052 (8.31%)


Plan: Illustrative_Senate, District 003 --                       191,212 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 003                 191,212 (100.00%   126,645 (100.00%)   44,238 (100.00%)     13,033 (100.00%)
                                  )
Total and % Population                       126,645 (66.23%)    44,238 (23.14%)      13,033 (6.82%)


Plan: Illustrative_Senate, District 004 --                       191,400 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 004                 177,333 (92.65%)   114,692 (93.47%)    43,894 (88.82%)      10,888 (97.43%)
Dist. 023                  14,067 (7.35%)      8,018 (6.53%)      5,527 (11.18%)         287 (2.57%)
Total and % Population                       122,710 (64.11%)    49,421 (25.82%)      11,175 (5.84%)


Plan: Illustrative_Senate, District 005 --                       193,203 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 005                  91,990 (47.61%)    14,878 (29.89%)    34,515 (56.94%)      32,348 (60.74%)
Dist. 007                  84,272 (43.62%)    30,182 (60.63%)    20,778 (34.28%)      15,945 (29.94%)
Dist. 009                  16,941 (8.77%)      4,720 (9.48%)      5,320 (8.78%)        4,967 (9.33%)
Total and % Population                        49,780 (25.77%)    60,613 (31.37%)      53,260 (27.57%)


Plan: Illustrative_Senate, District 006 --                       191,401 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 006                 191,401 (100.00%   107,962 (100.00%)   45,946 (100.00%)     17,576 (100.00%)
                                  )
Total and % Population                       107,962 (56.41%)    45,946 (24.01%)      17,576 (9.18%)


Plan: Illustrative_Senate, District 007 --                       190,077 Total Population


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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX

                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 005                  80,174 (42.18%)     8,531 (18.72%)     17,525 (42.68%)      44,917 (67.65%)
Dist. 007                 105,437 (55.47%)    36,389 (79.85%)     22,785 (55.50%)      19,282 (29.04%)
Dist. 009                   4,466 (2.35%)       653 (1.43%)         747 (1.82%)         2,195 (3.31%)
Total and % Population                        45,573 (23.98%)     41,057 (21.60%)      66,394 (34.93%)


Plan: Illustrative_Senate, District 008 --                       192,396 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 008                 192,396 (100.00%   110,418 (100.00%)    61,785 (100.00%)     14,000 (100.00%)
                                  )
Total and % Population                       110,418 (57.39%)     61,785 (32.11%)      14,000 (7.28%)


Plan: Illustrative_Senate, District 009 --                       192,517 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 005                  19,757 (10.26%)     2,216 (3.56%)       5,679 (9.36%)       10,011 (24.02%)
Dist. 009                 159,663 (82.93%)    54,874 (88.16%)     51,304 (84.56%)      30,212 (72.49%)
Dist. 055                  13,097 (6.80%)      5,155 (8.28%)       3,687 (6.08%)        1,453 (3.49%)
Total and % Population                        62,245 (32.33%)     60,670 (31.51%)      41,676 (21.65%)


Plan: Illustrative_Senate, District 010 --                       192,564 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 010                 104,168 (54.10%)    17,694 (45.07%)     76,113 (55.49%)       6,947 (64.76%)
Dist. 017                   9,972 (5.18%)      4,852 (12.36%)      3,989 (2.91%)          709 (6.61%)
Dist. 042                  27,375 (14.22%)     7,464 (19.01%)     18,222 (13.28%)         980 (9.13%)
Dist. 044                  51,049 (26.51%)     9,253 (23.57%)     38,839 (28.32%)       2,092 (19.50%)
Total and % Population                        39,263 (20.39%)    137,163 (71.23%)      10,728 (5.57%)


Plan: Illustrative_Senate, District 011 --                       189,976 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 011                 189,976 (100.00%   105,918 (100.00%)    61,964 (100.00%)     17,787 (100.00%)
                                  )
Total and % Population                       105,918 (55.75%)     61,964 (32.62%)      17,787 (9.36%)


Plan: Illustrative_Senate, District 012 --                       190,819 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 012                 190,819 (100.00%    64,553 (100.00%)   115,621 (100.00%)      7,429 (100.00%)
                                  )
Total and % Population                        64,553 (33.83%)    115,621 (60.59%)       7,429 (3.89%)


Plan: Illustrative_Senate, District 013 --                       189,419 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 013                 169,445 (89.46%)   103,983 (91.39%)     50,081 (85.04%)      10,321 (90.61%)
Dist. 020                  19,974 (10.54%)     9,796 (8.61%)       8,813 (14.96%)       1,069 (9.39%)
Total and % Population                       113,779 (60.07%)     58,894 (31.09%)      11,390 (6.01%)




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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX

Plan: Illustrative_Senate, District 014 --                       192,533 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 014                 192,533 (100.00%   105,178 (100.00%)    37,409 (100.00%)     26,906 (100.00%)
                                  )
Total and % Population                       105,178 (54.63%)     37,409 (19.43%)      26,906 (13.97%)


Plan: Illustrative_Senate, District 015 --                       189,446 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 015                 189,446 (100.00%    64,536 (100.00%)   105,556 (100.00%)     14,344 (100.00%)
                                  )
Dist. 029                       0 (0.00%)          0 (0.00%)             (0.00%)              (0.00%)
Total and % Population                        64,536 (34.07%)    105,556 (55.72%)      14,344 (7.57%)


Plan: Illustrative_Senate, District 016 --                       190,092 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 010                  50,174 (26.39%)    15,042 (30.60%)     28,100 (25.32%)       3,727 (18.85%)
Dist. 016                  25,726 (13.53%)    15,772 (32.08%)      7,534 (6.79%)        1,627 (8.23%)
Dist. 025                  29,799 (15.68%)     9,864 (20.07%)     16,777 (15.12%)       2,268 (11.47%)
Dist. 034                   5,384 (2.83%)       538 (1.09%)        2,796 (2.52%)        1,821 (9.21%)
Dist. 044                  79,009 (41.56%)     7,943 (16.16%)     55,785 (50.26%)      10,324 (52.23%)
Total and % Population                        49,159 (25.86%)    110,992 (58.39%)      19,767 (10.40%)


Plan: Illustrative_Senate, District 017 --                       191,319 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 010                  38,556 (20.15%)     1,419 (2.59%)      36,182 (29.63%)         958 (9.39%)
Dist. 017                  72,315 (37.80%)    30,843 (56.38%)     34,114 (27.93%)       5,036 (49.36%)
Dist. 025                  11,634 (6.08%)      8,359 (15.28%)      2,166 (1.77%)          687 (6.73%)
Dist. 041                   6,361 (3.32%)       109 (0.20%)        6,090 (4.99%)          153 (1.50%)
Dist. 043                  58,697 (30.68%)    13,928 (25.46%)     39,946 (32.71%)       3,268 (32.03%)
Dist. 055                   3,756 (1.96%)        43 (0.08%)        3,629 (2.97%)          100 (0.98%)
Total and % Population                        54,701 (28.59%)    122,127 (63.83%)      10,202 (5.33%)


Plan: Illustrative_Senate, District 018 --                       192,415 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 016                  18,889 (9.82%)     16,313 (13.69%)      1,613 (2.89%)          348 (4.10%)
Dist. 018                 136,818 (71.11%)    80,406 (67.45%)     43,913 (78.67%)       6,487 (76.42%)
Dist. 020                  36,663 (19.05%)    22,465 (18.85%)     10,272 (18.40%)       1,648 (19.41%)
Dist. 025                     45 (0.02%)         18 (0.02%)          21 (0.04%)             6 (0.07%)
Total and % Population                       119,202 (61.95%)     55,819 (29.01%)       8,489 (4.41%)


Plan: Illustrative_Senate, District 019 --                       192,249 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 013                  19,881 (10.34%)    11,977 (9.94%)       4,080 (8.54%)        3,319 (16.76%)
Dist. 019                 172,368 (89.66%)   108,480 (90.06%)     43,686 (91.46%)      16,487 (83.24%)




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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX


Plan: Illustrative_Senate, District 019 --                       192,249 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Total and % Population                       120,457 (62.66%)     47,766 (24.85%)      19,806 (10.30%)


Plan: Illustrative_Senate, District 020 --                       190,739 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 028                  20,047 (10.51%)     9,623 (20.33%)      7,736 (6.49%)        2,091 (10.36%)
Dist. 030                  23,454 (12.30%)     7,625 (16.11%)     12,401 (10.40%)       2,725 (13.50%)
Dist. 035                 147,238 (77.19%)    30,093 (63.57%)     99,101 (83.11%)      15,367 (76.14%)
Total and % Population                        47,341 (24.82%)    119,238 (62.51%)      20,183 (10.58%)


Plan: Illustrative_Senate, District 021 --                       192,572 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 021                 192,572 (100.00%   136,981 (100.00%)    15,492 (100.00%)     19,505 (100.00%)
                                  )
Total and % Population                       136,981 (71.13%)     15,492 (8.04%)       19,505 (10.13%)


Plan: Illustrative_Senate, District 022 --                       189,518 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 022                 157,847 (83.29%)    53,821 (75.73%)     88,763 (87.35%)       9,566 (90.33%)
Dist. 023                  31,671 (16.71%)    17,248 (24.27%)     12,858 (12.65%)       1,024 (9.67%)
Total and % Population                        71,069 (37.50%)    101,621 (53.62%)      10,590 (5.59%)


Plan: Illustrative_Senate, District 023 --                       190,081 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 022                  35,316 (18.58%)     6,245 (7.72%)      27,222 (27.25%)       1,303 (24.10%)
Dist. 023                  62,042 (32.64%)    31,024 (38.36%)     27,678 (27.71%)       2,062 (38.14%)
Dist. 024                   3,302 (1.74%)       757 (0.94%)        2,356 (2.36%)          142 (2.63%)
Dist. 025                  43,799 (23.04%)    22,432 (27.73%)     18,985 (19.00%)       1,139 (21.07%)
Dist. 026                  45,622 (24.00%)    20,422 (25.25%)     23,656 (23.68%)         760 (14.06%)
Total and % Population                        80,880 (42.55%)     99,897 (52.55%)       5,406 (2.84%)


Plan: Illustrative_Senate, District 024 --                       189,600 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 023                  59,796 (31.54%)    33,199 (27.41%)     17,140 (40.93%)       6,023 (45.62%)
Dist. 024                 129,804 (68.46%)    87,913 (72.59%)     24,741 (59.07%)       7,180 (54.38%)
Total and % Population                       121,112 (63.88%)     41,881 (22.09%)      13,203 (6.96%)


Plan: Illustrative_Senate, District 025 --                       192,197 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 004                  10,981 (5.71%)      6,567 (5.67%)       2,807 (4.51%)        1,378 (14.33%)
Dist. 019                  19,948 (10.38%)    10,127 (8.74%)       7,703 (12.39%)       2,200 (22.88%)




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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX


Plan: Illustrative_Senate, District 025 --                       192,197 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 020                 129,311 (67.28%)    79,559 (68.66%)     40,981 (65.92%)       4,926 (51.24%)
Dist. 023                  22,768 (11.85%)    13,815 (11.92%)      7,556 (12.15%)         993 (10.33%)
Dist. 026                   9,189 (4.78%)      5,800 (5.01%)       3,124 (5.02%)          117 (1.22%)
Total and % Population                       115,868 (60.29%)     62,171 (32.35%)       9,614 (5.00%)


Plan: Illustrative_Senate, District 026 --                       193,164 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 018                  35,922 (18.60%)    18,870 (28.41%)     11,978 (11.05%)       2,914 (23.76%)
Dist. 020                   6,640 (3.44%)      3,237 (4.87%)       2,502 (2.31%)          473 (3.86%)
Dist. 025                  15,468 (8.01%)      7,361 (11.08%)      6,971 (6.43%)          546 (4.45%)
Dist. 026                 135,134 (69.96%)    36,954 (55.64%)     86,969 (80.21%)       8,329 (67.93%)
Total and % Population                        66,422 (34.39%)    108,420 (56.13%)      12,262 (6.35%)


Plan: Illustrative_Senate, District 027 --                       190,676 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 027                 190,676 (100.00%   129,651 (100.00%)    10,506 (100.00%)     22,131 (100.00%)
                                  )
Total and % Population                       129,651 (68.00%)     10,506 (5.51%)       22,131 (11.61%)


Plan: Illustrative_Senate, District 028 --                       189,892 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 016                  84,262 (44.37%)    46,950 (71.38%)     27,797 (27.32%)       5,385 (35.11%)
Dist. 034                  49,368 (26.00%)    11,825 (17.98%)     31,641 (31.09%)       4,117 (26.84%)
Dist. 044                  56,262 (29.63%)     7,002 (10.65%)     42,325 (41.59%)       5,837 (38.05%)
Total and % Population                        65,777 (34.64%)    101,763 (53.59%)      15,339 (8.08%)


Plan: Illustrative_Senate, District 029 --                       189,424 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 029                 189,424 (100.00%   114,990 (100.00%)    53,786 (100.00%)     10,114 (100.00%)
                                  )
Total and % Population                       114,990 (60.71%)     53,786 (28.39%)      10,114 (5.34%)


Plan: Illustrative_Senate, District 030 --                       192,238 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 028                  24,217 (12.60%)    18,644 (13.39%)      3,647 (10.77%)         940 (7.75%)
Dist. 030                 168,021 (87.40%)   120,612 (86.61%)     30,207 (89.23%)      11,189 (92.25%)
Total and % Population                       139,256 (72.44%)     33,854 (17.61%)      12,129 (6.31%)


Plan: Illustrative_Senate, District 031 --                       192,560 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]




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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX


Plan: Illustrative_Senate, District 031 --                       192,560 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 031                 192,560 (100.00%   125,543 (100.00%)    43,064 (100.00%)     17,043 (100.00%)
                                  )
Total and % Population                       125,543 (65.20%)     43,064 (22.36%)      17,043 (8.85%)


Plan: Illustrative_Senate, District 032 --                       192,448 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 032                 192,448 (100.00%   121,501 (100.00%)    30,039 (100.00%)     23,276 (100.00%)
                                  )
Total and % Population                       121,501 (63.13%)     30,039 (15.61%)      23,276 (12.09%)


Plan: Illustrative_Senate, District 033 --                       189,366 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 033                 148,519 (78.43%)    36,551 (92.47%)     69,853 (69.15%)      37,925 (85.46%)
Dist. 038                  40,847 (21.57%)     2,976 (7.53%)      31,170 (30.85%)       6,452 (14.54%)
Total and % Population                        39,527 (20.87%)    101,023 (53.35%)      44,377 (23.43%)


Plan: Illustrative_Senate, District 034 --                       192,420 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 034                 135,916 (70.64%)     8,824 (80.78%)     99,587 (66.35%)      22,317 (89.60%)
Dist. 035                  18,800 (9.77%)       935 (8.56%)       17,092 (11.39%)         731 (2.94%)
Dist. 039                  33,988 (17.66%)      618 (5.66%)       32,089 (21.38%)       1,175 (4.72%)
Dist. 044                   3,716 (1.93%)       546 (5.00%)        1,318 (0.88%)          683 (2.74%)
Total and % Population                        10,923 (5.68%)     150,086 (78.00%)      24,906 (12.94%)


Plan: Illustrative_Senate, District 035 --                       191,120 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 035                  26,801 (14.02%)      710 (1.46%)       25,503 (21.02%)         637 (5.63%)
Dist. 038                   6,807 (3.56%)       107 (0.22%)        6,527 (5.38%)          166 (1.47%)
Dist. 039                 157,512 (82.42%)    47,875 (98.32%)     89,323 (73.61%)      10,509 (92.90%)
Total and % Population                        48,692 (25.48%)    121,353 (63.50%)      11,312 (5.92%)


Plan: Illustrative_Senate, District 036 --                       192,282 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 036                 192,282 (100.00%    63,642 (100.00%)   104,523 (100.00%)     14,534 (100.00%)
                                  )
Total and % Population                        63,642 (33.10%)    104,523 (54.36%)      14,534 (7.56%)


Plan: Illustrative_Senate, District 037 --                       192,671 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 037                 192,671 (100.00%   120,179 (100.00%)    40,191 (100.00%)     19,242 (100.00%)
                                  )




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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX


Plan: Illustrative_Senate, District 037 --                       192,671 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Total and % Population                       120,179 (62.38%)     40,191 (20.86%)      19,242 (9.99%)


Plan: Illustrative_Senate, District 038 --                       189,676 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 033                  44,175 (23.29%)    13,553 (27.57%)     15,011 (14.29%)      13,572 (52.73%)
Dist. 038                 145,501 (76.71%)    35,597 (72.43%)     90,007 (85.71%)      12,166 (47.27%)
Total and % Population                        49,150 (25.91%)    105,018 (55.37%)      25,738 (13.57%)


Plan: Illustrative_Senate, District 039 --                       190,610 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 016                  44,452 (23.32%)    31,751 (24.21%)      4,166 (12.84%)       3,581 (24.47%)
Dist. 028                 146,158 (76.68%)    99,421 (75.79%)     28,289 (87.16%)      11,053 (75.53%)
Total and % Population                       131,172 (68.82%)     32,455 (17.03%)      14,634 (7.68%)


Plan: Illustrative_Senate, District 040 --                       190,544 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 040                 190,544 (100.00%    83,251 (100.00%)    35,719 (100.00%)     47,280 (100.00%)
                                  )
Total and % Population                        83,251 (43.69%)     35,719 (18.75%)      47,280 (24.81%)


Plan: Illustrative_Senate, District 041 --                       190,488 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 009                  11,845 (6.22%)      1,569 (5.03%)       3,638 (2.92%)        3,307 (20.30%)
Dist. 041                 154,765 (81.25%)    27,449 (88.07%)    101,199 (81.10%)      11,892 (73.01%)
Dist. 042                   2,940 (1.54%)       315 (1.01%)        2,473 (1.98%)           93 (0.57%)
Dist. 055                  20,938 (10.99%)     1,833 (5.88%)      17,479 (14.01%)         997 (6.12%)
Total and % Population                        31,166 (16.36%)    124,789 (65.51%)      16,289 (8.55%)


Plan: Illustrative_Senate, District 042 --                       190,522 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 041                  29,897 (15.69%)     8,465 (8.82%)      14,473 (27.72%)       1,933 (9.57%)
Dist. 042                 160,625 (84.31%)    87,517 (91.18%)     37,744 (72.28%)      18,262 (90.43%)
Total and % Population                        95,982 (50.38%)     52,217 (27.41%)      20,195 (10.60%)


Plan: Illustrative_Senate, District 043 --                       192,227 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 017                  45,536 (23.69%)    27,283 (46.39%)     14,670 (12.79%)       2,359 (15.46%)
Dist. 043                 134,032 (69.73%)    31,259 (53.16%)     88,097 (76.81%)      12,409 (81.34%)
Dist. 055                  12,659 (6.59%)       265 (0.45%)       11,935 (10.41%)         488 (3.20%)
Total and % Population                        58,807 (30.59%)    114,702 (59.67%)      15,256 (7.94%)




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Core Constituencies                                                                                        Illustrative_Senate



From Plan:          Ga_SB1EX

Plan: Illustrative_Senate, District 044 --                       191,728 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 016                  18,500 (9.65%)     12,344 (9.22%)      5,220 (11.54%)         475 (6.79%)
Dist. 017                  40,883 (21.32%)    30,873 (23.05%)     7,082 (15.65%)       1,535 (21.94%)
Dist. 018                  19,085 (9.95%)     12,776 (9.54%)      5,241 (11.58%)         534 (7.63%)
Dist. 025                  90,416 (47.16%)    61,789 (46.14%)    22,703 (50.18%)       3,520 (50.31%)
Dist. 046                  22,844 (11.91%)    16,139 (12.05%)     5,000 (11.05%)         933 (13.33%)
Total and % Population                       133,921 (69.85%)    45,246 (23.60%)       6,997 (3.65%)


Plan: Illustrative_Senate, District 045 --                       193,010 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 045                 165,712 (85.86%)    84,222 (87.50%)    33,648 (78.00%)      24,918 (84.93%)
Dist. 046                  27,298 (14.14%)    12,037 (12.50%)     9,493 (22.00%)       4,420 (15.07%)
Total and % Population                        96,259 (49.87%)    43,141 (22.35%)      29,338 (15.20%)


Plan: Illustrative_Senate, District 046 --                       189,385 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 024                  18,915 (9.99%)     11,126 (9.49%)      6,027 (14.36%)       1,289 (7.17%)
Dist. 046                  93,815 (49.54%)    69,307 (59.13%)    11,304 (26.93%)       5,665 (31.52%)
Dist. 047                  76,655 (40.48%)    36,780 (31.38%)    24,648 (58.72%)      11,018 (61.31%)
Total and % Population                       117,213 (61.89%)    41,979 (22.17%)      17,972 (9.49%)


Plan: Illustrative_Senate, District 047 --                       190,120 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 024                  14,825 (7.80%)     10,903 (7.86%)      2,468 (10.93%)         869 (4.70%)
Dist. 045                  24,980 (13.14%)    16,349 (11.78%)     3,894 (17.25%)       3,045 (16.48%)
Dist. 046                  17,116 (9.00%)      9,793 (7.06%)      3,573 (15.82%)       2,774 (15.02%)
Dist. 047                 113,952 (59.94%)    86,478 (62.33%)    10,890 (48.23%)      10,372 (56.14%)
Dist. 050                  19,247 (10.12%)    15,214 (10.97%)     1,755 (7.77%)        1,414 (7.65%)
Total and % Population                       138,737 (72.97%)    22,580 (11.88%)      18,474 (9.72%)


Plan: Illustrative_Senate, District 048 --                       190,123 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 048                 190,123 (100.00%    93,177 (100.00%)   18,879 (100.00%)     14,418 (100.00%)
                                  )
Total and % Population                        93,177 (49.01%)    18,879 (9.93%)       14,418 (7.58%)


Plan: Illustrative_Senate, District 049 --                       192,420 Total Population
                         Population            NH_Wht             AP_Blk            [Hispanic Origin]
Dist. 049                 189,355 (98.41%)   115,222 (99.32%)    16,099 (98.71%)      49,692 (96.12%)
Dist. 050                   3,065 (1.59%)       786 (0.68%)        211 (1.29%)         2,006 (3.88%)
Total and % Population                       116,008 (60.29%)    16,310 (8.48%)       51,698 (26.87%)


Plan: Illustrative_Senate, District 050 --                       192,836 Total Population


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Core Constituencies                                                                                         Illustrative_Senate



From Plan:          Ga_SB1EX

                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 024                  25,828 (13.39%)    19,250 (12.66%)      4,732 (32.65%)         931 (5.04%)
Dist. 050                 167,008 (86.61%)   132,825 (87.34%)      9,760 (67.35%)      17,557 (94.96%)
Total and % Population                       152,075 (78.86%)     14,492 (7.52%)       18,488 (9.59%)


Plan: Illustrative_Senate, District 051 --                       190,167 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 051                 190,167 (100.00%   168,764 (100.00%)     2,835 (100.00%)     10,318 (100.00%)
                                  )
Total and % Population                       168,764 (88.75%)      2,835 (1.49%)       10,318 (5.43%)


Plan: Illustrative_Senate, District 052 --                       190,799 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 052                 190,799 (100.00%   136,991 (100.00%)    27,096 (100.00%)     19,292 (100.00%)
                                  )
Total and % Population                       136,991 (71.80%)     27,096 (14.20%)      19,292 (10.11%)


Plan: Illustrative_Senate, District 053 --                       190,236 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 053                 190,236 (100.00%   163,183 (100.00%)    10,924 (100.00%)      7,571 (100.00%)
                                  )
Total and % Population                       163,183 (85.78%)     10,924 (5.74%)        7,571 (3.98%)


Plan: Illustrative_Senate, District 054 --                       192,443 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 054                 192,443 (100.00%   126,457 (100.00%)     8,128 (100.00%)     51,300 (100.00%)
                                  )
Total and % Population                       126,457 (65.71%)      8,128 (4.22%)       51,300 (26.66%)


Plan: Illustrative_Senate, District 055 --                       192,748 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 017                  23,804 (12.35%)    15,289 (24.24%)      5,251 (5.13%)        2,067 (10.49%)
Dist. 046                  29,239 (15.17%)    20,685 (32.79%)      5,810 (5.68%)        1,405 (7.13%)
Dist. 055                 139,705 (72.48%)    27,106 (42.97%)     91,315 (89.20%)      16,235 (82.38%)
Total and % Population                        63,080 (32.73%)    102,376 (53.11%)      19,707 (10.22%)


Plan: Illustrative_Senate, District 056 --                       191,226 Total Population
                         Population            NH_Wht             AP_Blk             [Hispanic Origin]
Dist. 056                 191,226 (100.00%   141,310 (100.00%)    15,455 (100.00%)     16,498 (100.00%)
                                  )
Total and % Population                       141,310 (73.90%)     15,455 (8.08%)       16,498 (8.63%)




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